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  ACLU OF HAWAII FOUNDATION                  Case No. 1:18-cv-00477-LEK-RT

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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


                                                Case No. 1:18-cv-00477-LEK-RT
   A.B. and A.M.B., by their parents and
   next friends, C.B. and D.B., and T.T.,
                                                [CIVIL RIGHTS ACTION]
   by her parents and next friends, K.T.
   and S.T.,
                              PLAINTIFFS’ MOTION FOR
                 Plaintiffs,  LEAVE TO FILE SECOND
                              AMENDED COMPLAINT;
            vs.               MEMORANDUM IN SUPPORT
                              OF MOTION; EXHIBIT 1
   HAWAII STATE DEPARTMENT OF (PROPOSED SECOND
   EDUCATION and OAHU         AMENDED COMPLAINT);
   INTERSCHOLASTIC            EXHIBIT 2 (REDLINED
   ASSOCIATION,               PROPOSED SECOND
                 Defendants.  AMENDED COMPLAINT);
                              CERTIFICATE OF SERVICE

                                                [CLASS ACTION]



     PLAINTIFFS’ MOTION FOR LEAVE TO FILE SECOND AMENDED
                          COMPLAINT

        Plaintiffs A.B. and A.M.B., by their parents and next friends, C.B. and D.B.,

  and T.T., by her parents and next friends, K.T. and S.T., by and through their

  counsel (together, “Plaintiffs”), hereby move this Court for leave to file a Second

  Amended Complaint in the above-captioned lawsuit. Plaintiffs seek to amend their

  Title IX civil rights Complaint to add one additional plaintiff and putative class

  representative, A.P.


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        Counsel for Plaintiffs asked counsel for Defendants to stipulate to the filing

  of the Second Amended Complaint, but counsel for Defendants would not agree.

        This Motion is brought pursuant to Rules 7 and 15(a)(2) of the Federal Rules

  of Civil Procedure and Rule 7.2 of the Local Rules for the U.S. District Court for

  the District of Hawaii. This Motion is supported by the attached Memorandum, the

  attached exhibits, the records and files in this case, and any additional matters that

  may be presented at or before hearing.



                      DATED: Honolulu, Hawaii, August 21, 2019.

                                           Respectfully submitted,

                                           /s/ Jongwook “Wookie” Kim
                                           Mateo Caballero
                                           Jongwook “Wookie” Kim
                                           ACLU OF HAWAII FOUNDATION

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